            Case 2:20-cv-00966-NR Document 75 Filed 07/13/20 Page 1 of 2




NEWMAN | WILLIAMS
A PROFESSIONAL CORPORATION


Gerard J. Geiger, Esq.           Attorneys for Defendants: Carbon County Board of Elections, Monroe
IDENTIFICATION NO. PA44099       County Board of Elections, Pike County Board of Elections, and Snyder
712 MONROE STREET                County Board of Elections
P.O. BOX 511
STROUDSBURG, PA 18360-0511
(570) 421-9090 (voice)
(570) 424-9739 (fax)
ggeiger@newmanwilliams.com



              IN THE UNITED STATES DISTRICT COURT
           FOR THE WESTERN DISTRICT OF PENNSYLVANIA

 DONALD J. TRUMP FOR
 PRESIDENT, INC., et al.,                       No. 2:20-CV-00966-NR
        Plaintiffs

            v.                                  Judge J. Nicholas Ranjan

 KATHY BOOCKVAR, et al.,
         Defendants                            Electronically Filed Document


                             Entry of Appearance

TO THE CLERK OF COURTS:

        Please enter my appearance for the Defendants, Carbon County

Board of Elections, Monroe County Board of Elections, Pike County Board

of Elections, and Snyder County Board of Elections.


                                         NEWMAN | WILLIAMS


                                         By: s/ Gerard J. Geiger___________
                                               Gerard J. Geiger, Esq.
                                               Attorney ID: PA44099
       July 13, 2020
Date: _______________
        Case 2:20-cv-00966-NR Document 75 Filed 07/13/20 Page 2 of 2




                           Certificate of Service

      I hereby certify that on this date, I caused the foregoing Entry of

Appearance to be filed with the United States District Court for the Western

District Court of Pennsylvania via the Court’s CM/ECF system, which will

provide electronic notice to all parties of record.



                                     NEWMAN | WILLIAMS


                                     By: s/ Gerard J. Geiger___________
                                           Gerard J. Geiger, Esq.
                                           Attorney ID: PA44099

Date: ________________
       July 13, 2020
